
99 N.Y.2d 643 (2003)
MONIKA HEILBUT, Respondent,
v.
FRANCIS HEILBUT, Appellant.
Court of Appeals of the State of New York.
Submitted December 30, 2002.
Decided April 3, 2003.
Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as affirmed Supreme Court's orders (1) denying appellant's motion to reopen the equitable *644 distribution hearing, (2) denying appellant's motion to reargue and renew the denial of his request to reopen the equitable distribution hearing, and (3) denying appellant's motion to renew the motion for an award of maintenance, dismissed upon the ground that such portion of the Appellate Division order does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
